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 4

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 8                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 9                                       AT
10
     [PLAINTIFF],                       CASE NO. [CASE #]
11
                                        MODEL STIPULATED PROTECTIVE
12                        Plaintiff,    ORDER
                                              THE HONORABLE RICARDO S. MARTINEZ
13          v.
14 [DEFENDANT],
        Defendant.
15

16

17                            1.   UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
18                                       AT SEATTLE

19   POLSKIE LINIE LOTNICZE LOT S.A.,          No. 2:21-cv-01449-RSM
20                        Plaintiff,            STIPULATED PROTECTIVE ORDER
21                                              AND [PROPOSED] ORDER
            v.
22                                              NOTED FOR CONSIDERATION:
     THE BOEING COMPANY,                        MARCH 29, 2022
23                         Defendant.
24

25

26

     STIPULATED PROTECTIVE ORDER
     AND [PROPOSED] ORDER – 1
     (No. 2:21-cv-01449-RSM)
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     1
 1       1.         PURPOSES AND LIMITATIONS
     2
 2                  Discovery in this action is likely to involve production of confidential, export controlled,
     3
 3       proprietary, or private information for which special protection may be warranted. Accordingly,
     4
 4       the parties hereby stipulate to and petition the courtCourt to enter the following Stipulated
     5
 5       Protective Order. The parties acknowledge that this agreementProtective Order is consistent with
     6
 6       LCRLocal Civil Rule 26(c). It does not confer blanket protection on all disclosures or responses
     7
 7       to discovery, the protection it affords from public disclosure and use extends only to the limited
     8
 8       information or items that are entitled to confidential treatment under the applicable legal principles,
   9
 9       and it does not presumptively entitle parties to file confidential information under seal.
 10
10       2.         “CONFIDENTIAL” MATERIAL
 11
11                  “Confidential” material shall include the following documents and tangible things
 12
12       produced or otherwise exchanged: [The parties must include a list of specific documents such as
 13
13       “company’s customer list” or “plaintiff’s medical records;” do not list broad categories of
 14
14       documents such as “sensitive business material”].
 15
15       2.         3.     DEFINITIONS
 16
16                  2.1    “Confidential Information.” “Confidential Information” shall include the following
 17
17       documents and tangible things produced or otherwise exchanged: (a) information prohibited from
 18
18       disclosure by statute; (b) non-public information about Boeing airplane sales and servicing
 19
19       contracts; (c) non-public information about the design, manufacturing, certification, marketing,
 20
20       sale, delivery, and performance of Boeing airplanes; (d) non-public information about revenue,
 21
21       pricing, profitability, loss, or competition-sensitive material; and (e) non-public personal
 22
22       information of individuals, including medical information, tax information, and personnel records.
 23
23       Information or documents that are available to the public may not be designated as Confidential,
 24
24       except documents that are Export Controlled Information. In the event either party produces
 25
25       documents designated as Confidential that the other believes do not fall within one of the above
 26
26
         STIPULATED PROTECTIVE ORDER
         AND [PROPOSED] ORDER – 2
         (No. 2:21-cv-01449-RSM)

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     1
 1       categories, the parties will meet and confer to confirm the propriety of the designation or the
     2
 2       necessity of proposing an amendment to this Protective Order.
     3
 3                  2.2    “Attorneys’ Eyes Only Information.” As used in this Order, “Attorneys’ Eyes Only
     4
 4       Information” means those documents containing information that the producing party reasonably
     5
 5       believes to be so highly sensitive that it could cause it significant competitive harm if revealed to
     6
 6       an employee of the receiving party. Attorneys’ Eyes Only Information could include highly
     7
 7       sensitive strategic corporate information related to financial or pricing information, information
     8
 8       about confidential third-party agreements, revenue, profit, or loss information, or highly sensitive
   9
 9       competition-related information. Attorneys’ Eyes Only Information shall not include any
 10
10       information that has been made public or that is legitimately subject to public disclosure. The
 11
11       parties agree to take care, when reviewing families of documents, to designate as Attorneys’ Eyes
 12
12       Only, solely the individual documents or information that are entitled to that designation and to
 13
13       cooperate to promptly correct any over-designation. All Attorneys’ Eyes Only Information is also
 14
14       Confidential Information.
 15
15                  2.3    “Export Controlled Information.” As used in this Order, “Export Controlled
 16
16       Information” means information, technical data, and/or technology that is subject to the
 17
17       requirements of the Export Administration Regulations (“EAR”), 15 C.F.R. §§ 730.1, et seq.,
 18
18       and/or the International Traffic in Arms Regulations, which implement the Arms Export Control
 19
19       Act (“ITAR”), 22 C.F.R. §§ 120.1, et seq. Export Controlled Information may or may not also be
 20
20       Confidential Information.
 21
21       3.         SCOPE
 22
22       1.         SCOPE
 23
23                  The protections conferred by this agreementProtective Order cover not only confidential
 24
24       materialConfidential Information, Attorneys’ Eyes Only Information, and Export Controlled
 25
25       Information (as defined above), but also (1) any information copied or extracted from confidential
 26
26       materialConfidential Information, Attorneys’ Eyes Only Information, or Export Controlled
         STIPULATED PROTECTIVE ORDER
         AND [PROPOSED] ORDER – 3
         (No. 2:21-cv-01449-RSM)

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     1
 1       Information; (2) all copies, excerpts, summaries, or compilations of confidential material; and (3)
     2
 2       Confidential Information, Attorneys’ Eyes Only Information, or Export Controlled Information;
     3
 3       and (3) any testimony, conversations, or presentations by parties or their counsel that might reveal
     4
 4       confidential material.
     5
 5                  Confidential Information, Attorneys’ Eyes Only Information, or Export Controlled
     6
 6       Information. However, the protections conferred by this agreementProtective Order do not cover
     7
 7       information that is in the public domain or becomes part of the public domain through trial or
     8
 8       otherwise, with the exception of Export Controlled Information.
   9
 9       4.         4.    ACCESS TO AND USE OF CONFIDENTIAL MATERIALDESIGNATED
 10
10       INFORMATION
 11
11                  4.1   4.1     Basic    Principles.   A   receiving    party   may    use    confidential
 12
12       materialConfidential Information, Attorneys’ Eyes Only Information, or Export Controlled
 13
13       Information that is disclosed or produced by another party or by a non-party in connection with
 14
14       this case only for prosecuting, defending, or attempting to settle this litigation. Confidential
 15
15       materialInformation, Attorneys’ Eyes Only Information, and Export Controlled Information may
 16
16       be disclosed only to the categories of persons and under the conditions described in this
 17
17       agreement.Protective Order. Confidential materialInformation, Attorneys’ Eyes Only Information,
 18
18       and Export Controlled Information must be stored and maintained by a receiving party at a location
 19
19       and in a secure manner that ensures that access is limited to the persons authorized under this
 20
20       agreementProtective Order.
 21
21                  4.2   4.2     Disclosure of “CONFIDENTIAL”Confidential Information or Items.
 22
22       Unless otherwise ordered by the courtCourt or permitted in writing by the designating party, a
 23
23       receiving party may disclose any confidential materialConfidential Information only to:
 24
24                        (a)     (a)     the receiving party’s counsel of record in this action, as well as
 25
25       employees of counsel to whom it is reasonably necessary to disclose the information for this
 26
26       litigation;
         STIPULATED PROTECTIVE ORDER
         AND [PROPOSED] ORDER – 4
         (No. 2:21-cv-01449-RSM)

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     1
 1                       (b)    (b)     the officers, directors, and employees (including in -house counsel)
     2
 2       of the receiving party to whom disclosure is reasonably necessary for this litigation, unless the
     3
 3       parties agree that a particular document or material produced is for Attorney’s Eyes Only and is
     4
 4       so designateddocument or material is designated Attorneys’ Eyes Only, in which event such
     5
 5       document or material may be disclosed only to in-house litigation counsel employed by the
     6
 6       receiving party and who have been previously disclosed to the disclosing party, provided they have
     7
 7       signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A), but not to other officers,
     8
 8       directors, or employees of the receiving party, see infra ¶ 4.3;
   9
 9                       (c)    (c)     experts and consultants to whom disclosure is reasonably necessary
 10
10       for this litigation and who have signed the “Acknowledgment and Agreement to Be Bound”
 11
11       (Exhibit A);), provided, however, that Confidential Information may be disclosed only to an expert
 12
12       or consultant who is not an aircraft or aircraft part customer, supplier, or competitor of the
 13
13       designating party, unless a court order is obtained permitting such disclosure;
 14
14                       (d)    (d)     the courtCourt, court personnel, and court reporters and their staff;
 15
15                       (e)    (e)     copy or, imaging, or e-discovery services retained by counsel to
 16
16       assist in the duplicationprocessing of confidential materialConfidential Information, provided that
 17
17       counsel for the party retaining the copy or imaging servicethose vendors instructs the service not
 18
18       to disclose any confidential materialConfidential Information to third non-parties and to
 19
19       immediately destroy or return all originals and copies of any confidential materialConfidential
 20
20       Information upon the conclusion of the above-captioned action, pursuant to the destruction
 21
21       protocol addressed in Paragraph 10 below;
 22
22                       (f)    (f)     during their depositions, witnesses in the action to whom disclosure
 23
23       is reasonably necessary and who have signed the “Acknowledgment and Agreement to Be Bound”
 24
24       (Exhibit A), unless otherwise agreed by the designating party or ordered by the courtCourt. Pages
 25
25       of transcribed deposition testimony or exhibits to depositions that reveal confidential
 26
26
         STIPULATED PROTECTIVE ORDER
         AND [PROPOSED] ORDER – 5
         (No. 2:21-cv-01449-RSM)

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     1
 1       materialConfidential Information must be separately bound by the court reporter and may not be
     2
 2       disclosed to anyone except as permitted under this agreement;Protective Order; and
     3
 3                        (g)    (g)     the author or recipient of a document containing the information or
     4
 4       a custodian or other person who otherwise possessed or knew the information.
     5
 5                  4.3   4.3    Filing Confidential Material. Before filing confidential materialDisclosure
     6
 6       of Attorneys’ Eyes Only Information. Unless otherwise ordered by the Court or permitted in
     7
 7       writing by the designating party, a receiving party may disclose any Attorneys’ Eyes Only
     8
 8       Information only to those non-parties or entities identified in Paragraph 4.2(a) and (c)-(g), as well
   9
 9       as in-house counsel subject to the limitations and requirements set forth in Paragraph 4.2(b).
 10
10                  4.4   Disclosure of Export Controlled Information or Items. Unless otherwise ordered by
 11
11       the Court or permitted in writing by the designating party, a receiving party may disclose any
 12
12       Export Controlled Information only to the non-parties or entities identified in Paragraph 4.2(a)-
 13
13       (g), provided that no person who is not lawfully able to review Export Controlled Information shall
 14
14       be allowed to review Export Controlled Information.
 15
15                  4.5   Filing Confidential Information. Before filing Confidential Information, Attorneys’
 16
16       Eyes Only Information, or Export Controlled Information or discussing or referencing such
 17
17       material in court filings, the filing party shall confer with the designating party, in accordance with
 18
18       Local Civil Rule 5(g)(3)(A), to determine whether the designating party will remove the
 19
19       confidentialConfidential, Attorneys’ Eyes Only, or Export Controlled Information designation,
 20
20       whether the document can be redacted, or whether a motion to seal or stipulation and proposed
 21
21       order is warranted. During the meet and confer process, the designating party must specifically
 22
22       identify the basis for sealing the specific confidential informationConfidential, Attorneys’ Eyes
 23
23       Only, or Export Controlled Information at issue, and the filing party shall include this basis in its
 24
24       motion to seal, along with any objection to sealing the information at issue. Local Civil Rule 5(g)
 25
25       sets forth the procedures that must be followed and the standards that will be applied when a party
 26
26       seeks permission from the courtCourt to file material under seal. A party who seeks to maintain
         STIPULATED PROTECTIVE ORDER
         AND [PROPOSED] ORDER – 6
         (No. 2:21-cv-01449-RSM)

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     1
 1       the confidentiality of its information must satisfy the requirements of Local Civil Rule 5(g)(3)(B),
     2
 2       even if it is not the party filing the motion to seal. Failure to satisfy this requirement will result in
     3
 3       the motion to seal being denied, in accordance with the strong presumption of public access to the
     4
 4       Court’s files.
     5
 5       5.         5.     DESIGNATING PROTECTED MATERIAL
     6
 6                  5.1    5.1     Exercise of Restraint and Care in Designating Material for Protection. Each
     7
 7       party or non-party that designates information or items for protection under this
     8
 8       agreementProtective Order must take care to limit any such designation to specific material that
   9
 9       qualifies under the appropriate standards. The designating party must designate for protection only
 10
10       those parts of material, documents, items, or oral or written communications that qualify, so that
 11
11       other portions of the material, documents, items, or communications for which protection is not
 12
12       warranted are not swept unjustifiably within the ambit of this agreementProtective Order.
 13
13                  Mass, indiscriminate, or routinized designations are prohibited. Designations that are
 14
14       shown to be clearly unjustified or that have been made for an improper purpose (e.g., to
 15
15       unnecessarily encumber or delay the case development process or to impose unnecessary expenses
 16
16       and burdens on other parties) expose the designating party to sanctions.
 17
17                  If it comes to a designating party’s attention that information or items that it designated for
 18
18       protection do not qualify for protection, the designating party must promptly notify all other parties
 19
19       that it is withdrawing the mistaken designation.
 20
20                  5.2    5.2     Manner and Timing of Designations. Except as otherwise provided in this
 21
21       agreement (see, e.g., second paragraph of section 5.2(a) below),Protective Order, or as otherwise
 22
22       stipulated or ordered, disclosure or discovery of material that qualifies for protection under this
 23
23       agreementProtective Order must be clearly so designated as such before or when the material is
 24
24       disclosed or produced.
 25
25                         (a)     (a)     Information in documentary form: (e.g., paper or electronic
 26
26       documents and deposition exhibits, but excluding transcripts of depositions or other pretrial or trial
         STIPULATED PROTECTIVE ORDER
         AND [PROPOSED] ORDER – 7
         (No. 2:21-cv-01449-RSM)

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     1
 1       proceedings), the designating party must affix the word “CONFIDENTIAL” to each page that
     2
 2       contains confidential material.) The designating party must affix the words “CONFIDENTIAL,
     3
 3       W.D. Wash. Case No. 2:21-cv-01449-RSM” to each page that contains Confidential Information;
     4
 4       “ATTORNEYS’ EYES ONLY, W.D. Wash. Case No. 2:21-cv-01449-RSM” to each page that
     5
 5       contains Attorneys’ Eyes Only Information; “EXPORT CONTROLLED INFORMATION, W.D.
     6
 6       Wash. Case No. 2:21-cv-01449-RSM” to each page that contains Export Controlled Information;
     7
 7       “ATTORNEYS’ EYES ONLY AND EXPORT CONTROLLED INFORMATION, W.D. Wash.
     8
 8       Case No. 2:21-cv-01449-RSM” to each page that contains both Attorneys’ Eyes Only Information
   9
 9       and Export Controlled Information; and “CONFIDENTIAL AND EXPORT CONTROLLED
 10
10       INFORMATION, W.D. Wash. Case No. 2:21-cv-01449-RSM” to each page that contains both
 11
11       Confidential Information, Attorneys’ Eyes Only Information, and Export Controlled Information.
 12
12       If only a portion or portions of the material on a page qualifies for protection, the producing party
 13
13       also must clearly identify the protected portion(s) (e.g., by making appropriate markings in the
 14
14       margins).
 15
15                       (b)    (b)     Testimony given in deposition or in other pretrial proceedings:
 16
16       theThe parties and any participating non-parties must identify on the record, during the deposition
 17
17       or other pretrial proceeding, all protected testimony, without prejudice to their right to so designate
 18
18       other testimony after reviewing the transcript. Any party or non-party may, within fifteen45 days
 19
19       after receiving the transcript of the deposition or other pretrial proceeding, designate portions of
 20
20       the transcript, or exhibits thereto, as confidential. Confidential, Attorneys’ Eyes Only, and/or
 21
21       Export Controlled Information. If a party or non-party desires to protect confidential
 22
22       informationConfidential, Attorneys’ Eyes Only, and/or Export Controlled Information at trial, the
 23
23       issue should be addressed during the pre-trial conference.
 24
24                       (c)    (c)     Other tangible items: theThe producing party must affix in a
 25
25       prominent place on the exterior of the container or containers in which the information or item is
 26
26       stored the word “CONFIDENTIAL.”words “CONFIDENTIAL, W.D. Wash. Case No. 2:21-cv-
         STIPULATED PROTECTIVE ORDER
         AND [PROPOSED] ORDER – 8
         (No. 2:21-cv-01449-RSM)

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     1
 1       01449-RSM”; “ATTORNEYS’ EYES ONLY, W.D. Wash. Case No. 2:21-cv-01449-RSM”;
     2
 2       “EXPORT CONTROLLED INFORMATION, W.D. Wash. Case No. 2:21-cv-01449-RSM”;
     3
 3       “ATTORNEYS’ EYES ONLY AND EXPORT CONTROLLED INFORMATION, W.D. Wash.
     4
 4       Case No. 2:21-cv-01449-RSM”; or “CONFIDENTIAL AND EXPORT CONTROLLED
     5
 5       INFORMATION, W.D. Wash. Case No. 2:21-cv-01449-RSM.” If only a portion or portions of
     6
 6       the information or item warrant protection, the producing party, to the extent practicable, shall
     7
 7       identify the protected portion(s).
     8
 8                  5.3   5.3   Inadvertent Failures to Designate. If timely corrected, an inadvertent failure
   9
 9       to designate qualified information or items (e.g., corrected shortly after the inadvertent failure was
 10
10       brought to the designating party’s attention) does not, standing alone, waive the designating party’s
 11
11       right to secure protection under this agreementProtective Order for such material. Upon timely
 12
12       correction of a designation, the receiving party must make reasonable efforts to ensure that the
 13
13       material is treated in accordance with the provisions of this agreementProtective Order.
 14
14       6.         6.    CHALLENGING CONFIDENTIALITYCONFIDENTIAL, ATTORNEYS’
 15
15       EYES ONLY, OR EXPORT CONTROLLED INFORMATION DESIGNATIONS
 16
16                  6.1   6.1   Timing of Challenges. Any party or non-party may challenge a designation
 17
17       of confidentialityConfidential, Attorneys’ Eyes Only, or Export Controlled Information at any
 18
18       time. Unless a prompt challenge to a designating party’s confidentiality designation is necessary
 19
19       to avoid foreseeable, substantial unfairness, unnecessary economic burdens, or a significant
 20
20       disruption or delay of the litigation, a party does not waive its right to challenge a confidentiality
 21
21       designation by electing not to mount a challenge promptly after the original designation is
 22
22       disclosed.
 23
23                  6.2   6.2   Meet and Confer. The parties must make every attempt to resolve any
 24
24       dispute regarding confidential designations without court involvement. Any motion regarding
 25
25       confidential designations or for a protective order must include a certification, in the motion or in
 26
26       a declaration or affidavit, that the movant has engaged in a good faith meet and confer conference
         STIPULATED PROTECTIVE ORDER
         AND [PROPOSED] ORDER – 9
         (No. 2:21-cv-01449-RSM)

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     1
 1       with other affected parties in an effort to resolve the dispute without court action. The certification
     2
 2       must list the date, manner, and participants toof the conference. A good faith effort to confer
     3
 3       requires a face-to-face meeting or a video or telephone conference.
     4
 4                  6.3    6.3     Judicial Intervention. If the parties cannot resolve a challenge without court
     5
 5       intervention, the designating party may file and serve a motion to retain confidentialitythe
     6
 6       designation under Local Civil Rule 7 (and in compliance with Local Civil Rule 5(g), if applicable).
     7
 7       The burden of persuasion in any such motion shall be on the designating party. Frivolous
     8
 8       challenges, and those made for an improper purpose (e.g., to harass or impose unnecessary
   9
 9       expenses and burdens on other parties) may expose the challenging party to sanctions. All parties
 10
10       shall continue to maintain the material in question as confidentialdesignated until the courtCourt
 11
11       rules on the challenge.
 12
12       7.         7.     PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
 13
13                  OTHER LITIGATION
 14
14                  If a party is served with a subpoena or a court order issued in other litigation that compels
 15
15       disclosure of any information or items designated in this action as “CONFIDENTIAL, W.D. Wash.
 16
16       Case No. 2:21-cv-01449-RSM”; “ATTORNEYS’ EYES ONLY, W.D. Wash. Case No. 2:21-cv-
 17
17       01449-RSM”; “EXPORT CONTROLLED INFORMATION, W.D. Wash. Case No. 22:21-cv-
 18
18       01449-RSM”; “ATTORNEYS’ EYES ONLY AND EXPORT CONTROLLED INFORMATION,
 19
19       W.D. Wash. Case No. 2:21-cv-01449-RSM”; or “CONFIDENTIAL AND EXPORT
 20
20       CONTROLLED INFORMATION, W.D. Wash. Case No. 2:21-cv-01449-RSM,” that party must:
 21
21                         (a)     (a)     promptly notify the designating party in writing and include a copy
 22
22       of the subpoena or court order;
 23
23                         (b)     (b)     promptly notify in writing the party who caused the subpoena or
 24
24       order to issue in the other litigation that some or all of the material covered by the subpoena or
 25
25       order is subject to this agreement.Protective Order. Such notification shall include a copy of this
 26
26       agreementProtective Order; and
         STIPULATED PROTECTIVE ORDER
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     1
 1                         (c)     (c)     cooperate with respect to all reasonable procedures sought to be
     2
 2       pursued by the designating party whose confidentialdesignated material may be affected.
     3
 3       8.         8.     UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
     4
 4                  If a receiving party learns that, by inadvertence or otherwise, it has disclosed confidential
     5
 5       materialConfidential, Attorneys’ Eyes Only, or Export Controlled Information to any person or in
     6
 6       any circumstance not authorized under this agreementProtective Order, the receiving party must
     7
 7       immediately (a) notify in writing the designating party of the unauthorized disclosures, (b) use its
     8
 8       best efforts to retrieve all unauthorized copies of the protected material or ensure their destruction,
   9
 9       (c) inform the person or persons to whom unauthorized disclosures were made of all the terms of
 10
10       this agreementProtective Order, and (d) request that such person or persons execute the
 11
11       “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit A.
 12
12       9.         9.     INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
 13
13                  PROTECTED MATERIAL
 14
14                  When a producing party gives notice to receiving parties that certain inadvertently
 15
15       produced material is subject to a claim of privilege or other protection, the obligations of the
 16
16       receiving parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This provision
 17
17       is not intended to modify whatever procedure may be established in an e-discovery order or
 18
18       agreement that provides for production without prior privilege review. The parties agree to the
 19
19       entry of a non-waiver order under Fed. R. Evid. 502(d) as set forth herein.
 20
20                  9.1    10.     Inadvertent Production of Privileged or Protected Material. The parties
 21
21       recognize that certain Confidential or other material relevant to the claims and defenses in this
 22
22       action may be protected by, and subject to, a claim of privilege or similar protection. Pursuant to
 23
23       Federal Rule of Evidence 502(d), if, in connection with this action, a producing party inadvertently
 24
24       produces or discloses information subject to any privilege or similar protection (“Inadvertently
 25
25       Produced Information”), such disclosure or production shall be without prejudice to the producing
 26
26       party’s claim that such information is privileged or protected, and no producing party shall be held
         STIPULATED PROTECTIVE ORDER
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     1
 1       to have waived any rights by such inadvertent production or disclosure, so long as the producing
     2
 2       party promptly provides notice to all parties of the production of Inadvertently Produced
     3
 3       Information after learning of that production. Within five business days of providing notice, the
     4
 4       producing party shall provide privilege log entry/entries covering such Inadvertently Produced
     5
 5       Information. Specifically, the provisions of Federal Rule of Evidence 502(b)(2) and (b)(3) are
     6
 6       inapplicable to the production of Inadvertently Produced Information in this action. Once a
     7
 7       producing party provides the notice to the other parties regarding the production of Inadvertently
     8
 8       Produced Information, the other parties shall: (i) promptly return the Inadvertently Produced
   9
 9       Information along with all duplicates in paper form, (ii) remove any electronic version of the
 10
10       Inadvertently Produced Information from their electronic databases, (iii) provide a certification of
 11
11       counsel that all such Inadvertently Produced Information has been returned or destroyed, and (iv)
 12
12       not duplicate the Inadvertently Produced Information or distribute it by any means other than
 13
13       returning it to the producing party (if needed). Nothing in this paragraph or order curtails a party’s
 14
14       right to challenge the propriety of a designation or privilege assertion with the Court, or to assert
 15
15       that the holder of the privilege failed to take reasonable steps to prevent disclosure or failed to
 16
16       promptly take reasonable steps to rectify the error.
 17
17                  9.2   Receipt of Inadvertently Produced Information. If a party receives Confidential or
 18
18       other material that reasonably appears to be subject to a privilege or protection and to have been
 19
19       provided through inadvertence, the receiving party must refrain from examining the Confidential
 20
20       or other material any further and shall promptly notify the producing party in writing that the party
 21
21       possesses it.
 22
22                  9.3   Description of Inadvertently Produced Information. In connection with any motion
 23
23       or dispute before the Court regarding the designation of Confidential or other material as subject
 24
24       to a privilege or protection, nothing in this Order shall prohibit any party from describing such
 25
25       Confidential or other material in such a manner as does not violate the privilege or protection.
 26
26
         STIPULATED PROTECTIVE ORDER
         AND [PROPOSED] ORDER – 12
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     1
 1       10.        NON -TERMINATION AND RETURN OF DOCUMENTS
     2
 2                  Within 60 days after the termination of this action, including all appeals, each receiving
     3
 3       party must return certify the secure destruction of all confidential materialConfidential, Attorneys’
     4
 4       Eyes Only, or Export Controlled Information to the producing party, including all copies, extracts,
     5
 5       and summaries thereof. Alternatively, the parties may agree upon appropriate methods of
     6
 6       destruction.
     7
 7                  Notwithstanding this provision, counsel are entitled to retain one archival copy of all
     8
 8       documents filed with the courtCourt, trial, deposition, and hearing transcripts, correspondence,
   9
 9       deposition and trial exhibits, expert reports, attorney work product, and consultant and expert work
 10
10       product, even if such materials contain confidential materialConfidential, Attorneys’ Eyes Only,
 11
11       or Export Controlled Information.
 12
12                  The confidentiality obligations imposed by this agreementProtective Order shall remain in
 13
13       effect until a designating party agrees otherwise in writing or a court orders otherwise.
 14
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         STIPULATED PROTECTIVE ORDER
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    1
1                  IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD by and between the
    2
2       parties.
    3
3       DATED:
    4                                                            Attorneys for Plaintiff
4
    5
5       DATED:
    6                                                           Attorneys for Defendant
6
    7
7       DATED: March 29, 2022
    8
8       By: s/ Mirin Park                          By: s/ Ulrike B. Connelly
    9
 9
        Mirin Park, WSBA No. 57983                 Steve Y. Koh, WSBA No. 23284
 10                                                Eric B. Wolff, WSBA No. 43047
10
 11     Condon & Forsyth LLP                       Ulrike B. Connelly, WSBA No. 42478
11      600 Stewart Street                         Gregory F. Miller, WSBA No. 56466
 12     Suites 300 & 400                           Michelle L. Maley, WSBA No. 51318
12      Seattle, Washington 98101
 13     Email: mpark@condonlaw.com                 Perkins Coie LLP
13                                                 1201 Third Avenue, Suite 4900
 14                                                Seattle, WA 98101-3099
14      Anthony U. Battista (pro hac vice)
                                                   Telephone: 206.359.8000
 15     Diana Gurfel Shapiro (pro hac vice)        Facsimile: 206.359.9000
15      Evan Kwarta (pro hac vice)                 Email: SKoh@perkinscoie.com
 16     Mary Dow (pro hac vice)                             EWolff@perkinscoie.com
16                                                          UConnelly@perkinscoie.com
 17     Condon & Forsyth LLP                                GMiller@perkinscoie.com
17      7 Times Square, 18th Floor                          MMaley@perkinscoie.com
 18     New York, New York 10036
18      Email: abattista@condonlaw.com             Attorneys for Defendant
 19             dgurfel@condonlaw.com              The Boeing Company
19              ekwarta@condonlaw.com
 20             mdow@condonlaw.com
20
 21     Attorneys for Plaintiff
21      Polskie Linie Lotnicze Lot, S.A.
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        STIPULATED PROTECTIVE ORDER
        AND [PROPOSED] ORDER – 14
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 1   PURSUANT TO STIPULATION, IT IS SO ORDERED.
 2              IT IS FURTHER ORDERED that pursuant to Fed. R. Evid. 502(d),Federal Rule of
 3   Evidence 502(d) and the provisions of this Order, the production of any documents in this
 4   proceeding shall not, for the purposes of this proceeding or any other federal or state proceeding,
 5   constitute a waiver by the producing party of any privilege applicable to those documents,
 6   including the attorney-client privilege, attorney work-product protection, or any other privilege or
 7   protection recognized by law. The parties therefore need not comply with any other requirements,
 8   including those set forth by Federal Rule of Evidence 502(b), in order to preserve the privilege.
 9

10
     DATED:
11

12

13                                                        [Name of Judge]
14                                                 RICARDO S. MARTINEZ
15                                                 United States District Court Chief Judge

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     STIPULATED PROTECTIVE ORDER
     AND [PROPOSED] ORDER – 15
     (No. 2:21-cv-01449-RSM)
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     1
 1                                                    EXHIBIT A
     2
 2                          ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
     3
 3                  I,   ____________________________________          [print   or   type   full   name],   of
     4
 4       ____________________________________ [print or type full address], declare under penalty of
     5
 5       perjury that I have read in its entirety and understand the Stipulated Protective Order that was
     6
 6       issued by the United States District Court for the Western District of Washington on
     7
 7       __________ [date] in the case of ________________ [insert formal name of the case and the
     8
 8       number and initials assigned to it by the court].Polskie Linie Lotnicze Lot S.A. v. The Boeing
   9
 9       Company, Case No. 2:21-CV-01449-RSM. I agree to comply with and to be bound by all the terms
 10
10       of this Stipulated Protective Order and I understand and acknowledge that failure to so comply
 11
11       could expose me to sanctions and punishment in the nature of contempt. I solemnly promise that I
 12
12       will not disclose in any manner any information or item that is subject to this Stipulated Protective
 13
13       Order to any person or entity except in strict compliance with the provisions of this Order.
 14
14                  I further agree to submit to the jurisdiction of the United States District Court for the
 15
15       Western District of Washington for the purpose of enforcing the terms of this Stipulated Protective
 16
16       Order, even if such enforcement proceedings occur after termination of this action.
 17
17
 18
18       Date:
 19
19       City and State where sworn and signed:
 20
20       Printed name:
 21
21       Signature:
 22
22
 23
23
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26
         STIPULATED PROTECTIVE ORDER
         AND [PROPOSED] ORDER – 16
         (No. 2:21-cv-01449-RSM)

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